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AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:20-M -01958(1)
                                                            §
(1) Brandon Mazariegos                                      §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about November 14, 2020 in Dimmit county, in the WESTERN

DISTRICT OF TEXAS defendant(s) did, conspire with other unnamed co-conspirators, to transport, or move

or attempt to transport or move, certain persons, knowing or in reckless disregard of the fact that that such

persons were aliens illegally present in the United States, a felony,

in violation of Title             8            United States Code, Section(s)     1324(a)(1)(A)(v)(I)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On November 14, 2020 Brandon Mazariegos was encountered by Border Patrol Agents who

were notified of a grey Honda CRV that had loaded up with suspected illegal aliens and was traveling on FM

133 near Catarina, Texas, within the Western District of Texas. Agents stopped the vehicle and conducted an

immigration inspection and discovered three of the occupants were Mexican citizens who had entered the

country illegally.

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Jester, Michael C
                                                                           Border Patrol Agent

11/17/2020                                                            at   DEL RIO, Texas
File Date                                                                  City and State



COLLIS WHITE                                                               ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT

                               WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                            Case Number: DR:20-M -01958(1)

           (1) Brandon Mazariegos

Continuation of Statement of Facts:

Border Patrol Agents apprehended all subjects and read their Miranda rights. The driver identified as Brandon
Mazariegos admitted to being in communication with a neighbor who would offer him money for picking up illegal
aliens. Brandon was told by the neighbor (Juan Torres) that some people needed to be picked up and that he would
text him the location and that he was going to be paid $2500 to transport them to San Antonio."




______________________________
Signature of Judicial Officer                                 Signature of Complainant
